                   IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF KANSAS

In Re:                                                 )
                                                       )
WEBER, ROBERT MARION                                   )    Case No. 18-41626
WEBER, CAROL JEAN                                      )
                                                       )
                                              Debtors. )


                     MOTION TO ABANDON LESS THAN ALL ASSETS

         COMES NOW the Trustee, Robert L. Baer, and for and in support of his Motion to

Abandon Less Than All Assets shows the Court:

         1. The Trustee has reviewed the Schedules and Statement of Financial Affairs and received

the statements of the Debtor(s) under penalty of perjury.

         2. That except for rent received by the Debtors prior to the § 341 Meeting and turned over

by the Debtors to the Trustee, there is no property in the estate of consequential value

         WHEREFORE, the Trustee respectfully prays for the Order of this Court that all property of

the estate except the funds presently held by the Trustee, be abandoned.

                                              Respectfully submitted,


                                              /s/ Robert L. Baer
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                                              Chapter 7 Trustee




                   Case 18-41626       Doc# 26     Filed 05/15/19       Page 1 of 1
